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AO 93 (Rev. 12/09) Search and Seizure Warrant



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                           District of Massachusetts

                   In the Matter of the Search of                            )
              (Briefly describe the property to be searched
                                                                             )            \J   ~   :t                                                    q_ HBIJ
                                                                                                   1
                                                                             ) Case No. 'r\.l. \ -~ \~
               or identifY the person by name and address)
                                                                             )
        Sony Vaio laptop, bearing serial number
                      275285393000903                                        )
                                                                             )

                                                SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer

         An application by a federal law enforcement officer or an attorney for the govemment requests the search
of the following person or property located in the                           District of        Massachusetts
(identifY the person or describe the property to be searched and give its location):

Sony Vaio laptop, bearing serial number 275285393000903, as further described in Attachment A

          The person or property to be searched, described above, is believed to conceal (identifY the person or describe the
property to be seized):

See Attachment B.

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

          YOU ARE COMMANDED to execute this warrant on or before                                                                        May 4, 2013
                                                                                                                               (not to exceed 14 days)
      0 in the daytime 6:00 a.m. to 10 p.m.                   ~ at any time in the day or night as I find reasonable cause has been
                                                                  established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
Marianne B. Bowler
                                  (name)
                                                                                                   ~,...~   ~"'-'   ... """~.-··"il· .. •....,.,..... .,.-il....~

      0 I find that immediate notification may have an adverse result listed in 1&-t("~S.C. § 270·~-(~*c~tfor delay
of trial), and a?thorize the officer executing this warrant to delay notice to t~he ~~s?fi,wlio, ·or whos~.prq.?erty, will be
searched or se1zed (check the appropriate box) 0 for              days (not to exc e,d 3V).· . . . . . -   .    ,
                                               0 until, the facts justifying, th _l~te'r specific date of     · \


Date and time issued:          04/23/2013       o})'6 arr@ \0 :~
                                                ~           Pt--\                                                                                         ,. . .    ·. .,   ;{~




City and state:                                                                        Marianne<~. S~>«ler; u.s. M,~~-f~~rate Judge
                                                                                                   Prin(g(!nkme-and title




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                                                               Return
Case No.:                              Date and time warrant executed:      Copy ofwarrant and inventory left with:

Inventory made in the presence of:

Inventmy of the property taken and name of any person(s) seized:




                                                            Certification


       I declare under penalty ofperjury that this inventory is correct and was returned along with the original
warrant to the designated judge.



Date:
                                                                                 Executing officer's signature



                                                                                    Printed name and title




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                                      ATTACHMENT A


                DESCRIPTION OF THE PROPERTY TO BE SEARCHED
        The property to be searched is a Sony Vaio laptop, bearing serial number
2752856393000903 ("the Target Computer"), found in a consent search of 69A Caniage Road,
New Bedford, Massachusetts on Apri119, 2013. The Target Computer is cunently in the custody
of the FBI.

        This warrant authorizes the forensic examination of the electronic data for the purpose of
identifying the electronically stored information described in Attachment B.




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                                      ATTACHMENTB
                                    ITEMS TO BE SEIZED
       I. All records stored within the Target Computer~ related to violations of 18 U.S.C.
§§ 2332a (Using and Conspiring to Use A Weapon of Mass Destruction), 844(i) (Malicious
Destruction of Property by Means of an Explosive Device Resulting in Death), 2119 (Carjacking),
1951 (Interference with Commerce by Violence), 924(c) (Use of a Firearm During a Crime of
Violence) and 371 (Conspiracy to Commit Offenses), including but not limited to:

        1. Records, items, or other information, related to violations of the aforementioned
statutes, including but not limited to, bomb making material and equipment, ammunition,
weapons, explosive material, and components of bomb delivery devices;

        2. Records or other information related to the ordering, purchasing, manufacturing,
storage, and transportation of explosives;

        3. Records or other infmmation related to the ordering, purchasing, manufacturing,
storage, and transportation of firerums;

       4. Records or other information related to the ordering and purchasing of pressure cooker
devices, BBs, nails, and other small metallic objects;

       5. Records or information related to the Boston Marathon;

        6. Records or information related to any plans to initiate or carry out any other attacks
inside or outside the United States, or any records or information related to any past attacks;

      7. Records or information related to the state of mind and/or motive of Tamerlan and
Dzhokhar to undertake the Boston Marathon bombings;

       8. Records or other information related to the identity ofTamerlan and Dzhokhar;

        9. Records or other infmmation related to the identity of any individuals who were in
contact with, or were associates ofTamerlan and Dzhokhar;

         10. Records or information, related to any organization, entity, or individual in any way
affiliated with Tamerlan and Dzhokhar, that might have been involved in planning, encouraging,
promoting the actions described herein;

        11. Records or other information, related to Tamerlan's and/or Dzhokhar's schedule of
travel or travel documents;

       12. Records or information related to any bank records, checks, credit card bills, account
information, and other financial records.




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        13. For any computer hardware, computer software, computer-related documentation, or
storage media called for by this warrant or that might contain things otherwise called for by this
warrant ("the computer equipment"):

               1.     evidence of who used, owned, or controlled the computer equipment;
               2.     evidence of malicious computer software that would allow others to control
                      the computer equipment, computer software, or storage media, evidence of
                      the lack of such malicious software, and evidence of the presence or
                      absence of security software designed to detect malicious software;
               3.     evidence of the attachment of other computer hardware or storage media;
              4.      evidence of counter-forensic programs and associated data that are
                      designed to eliminate data;
              5.      evidence ofthe times the computer equipment was used;
              6.      passwords, encryption keys, and other access devices that may be necessary
                      to access the computer equipment;
              7.      records and tangible objects pertaining to accounts held with companies
                      providing Internet access or remote storage of either data or storage media;
                      and
       II.     All computer hardware, computer software, computer-related documentation, and
storage media. Off-site searching of these items shall be limited to searching for the items
described in paragraph I.

                                          DEFINITIONS

       For the purpose of this warrant:

              A.      "Computer equipment" means any computer hardware, computer software,
                      computer-related documentation, storage media, and data.

              B.      "Computer hardware" means any electronic device capable of data
                      processing (such as a computer, personal digital assistant, cellular
                      telephone, or wireless communication device); any peripheral input/output
                      device (such as a keyboard, printer, scanner, monitor, and drive intended for
                      removable storage media); any related communication device (such as a
                      router, wireless card, modem, cable, and any connections), and any security
                      device, (such as electronic data security hardware and physical locks and
                      keys).

              C.      "Computer software" means any program, program code, information or
                      data stored in any form (such as an operating system, application, utility,
                      communication and data security software; a log, history or backup file; an
                      encryption code; a user name; or a password), whether stored deliberately,




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                        inadvertently, or automatically.

               D.       "Computer-related documentation" means any material that explains or
                        illustrates the configuration or use of any seized computer hardware,
                        software, or related items.

               E.       "Storage mediaH means any media capable of collecting, storing, retrieving,
                        or transmitting data (such as a hard drive, CD, DVD, USB or thumb drive,
                        or memory card).
                        11
               F.        Datan means all information stored on storage media of any form in any
                        storage format and for any purpose.

               G.        A recordn is any communication, representation, information or data. A
                        11


                         recordn may be comprised of letters, numbers, pictures, sounds or
                        11


                        symbols.


                      RETURN OF SEIZED COMPUTER EQUIPMENT

       If, after inspecting seized computer equipment, the government determines that the

equipment does not contain contraband or the passwords, account information, or

personally-identifying information of victims, and the original is no longer necessary to preserve

as evidence, fmits or instrumentalities of a crime, the equipment will be returned within a

reasonable time, ifthe party seeking return will stipulate to a forensic copy's authenticity (but not

necessarily relevancy or admissibility) for evidentiary purposes.

       If computer equipment cannot be returned, agents will make available to the computer

system's owner, within a reasonable time period after the execution of the warrant, copies offiles

that   do   not     contain   or   constitute   contraband;   passwords,     account    information,

personally-identifying information of victims; or the fruits or instrumentalities of crime.




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